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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        BROWARD DIVISION

                                              CASE NO.

  BONNIE LOETSCHER,

         Plaintiff,

  v.

  CRUISE OPERATOR, INC.
  d/b/a BAHAMAS PARADISE
  CRUISE LINE,

       Defendant.
  ___________________________/


                        COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff sues Defendant and alleges:

                                  PRELIMINARY ALLEGATIONS

         1.      Plaintiff, BONNIE LOETSCHER, is a citizen and resident of the state of Florida.

         2.      Defendant, CRUISE OPERATOR, INC. d/b/a BAHAMAS PARADISE CRUISE

  LINE, (hereinafter referred to as “CRUISE OPERATOR”), is a for profit corporation with its

  headquarters, principle address and principle place of business in Riviera Beach and/or Deerfield

  Beach, Florida.

         3.      The matter in controversy exceeds, exclusive of interest and costs, the sum

  specified by 28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this

  matter falls under the admiralty and maritime jurisdiction of this Court.

         4.      This action is being pursued in this Court, as opposed to state court as otherwise

  allowed by the Saving to Suitors Clause of 28 U.S.C. §1333 because Defendant unilaterally inserts

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  a forum clause into its cruise tickets that requires its passengers to file cruise-related suits only in

  this federal district and division, as opposed to any other place in the world.

              a. Plaintiff demands a jury trial pursuant to the remedies saved under the Saving to

                 Suitors Clause of 28 U.S.C. §1333. See Lewis v. Lewis & Clark Marine, Inc., Etc.,

                 531 U.S. 438 (2000) (“Trial by jury is [a] . . . remedy available to suitors under the

                 saving to suitors clause of 28 USCS 1333(1), under which the Federal District

                 Courts have original and exclusive jurisdiction of any civil case of admiralty or

                 maritime jurisdiction, saving to suitors in all cases all other remedies to which they

                 are otherwise entitled.”)

       5.        Defendant, at all times material hereto, personally or through an agent:

                   a. Operated, conducted, engaged in or carried on a business venture in this state
                      and/or county or had an office or agency in this state and/or county;

                   b. Was engaged in substantial activity within this state;

                   c. Operated vessels in the waters of this state;

                   d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,
                      48.181 or 48.193;

                   e. The acts of Defendant set out in this Complaint occurred in whole or in part in
                      this county and/or state;

                   f. The cruise line ticket for the Plaintiff requires that suit be brought in this Court
                      against the named Defendant in this action.

         6.      The Defendant is subject to the jurisdiction of the Courts of this state.

         7.      The causes of action asserted in this Complaint arise under the General Maritime

  Law of the United States and the laws of the state of Florida.




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         8.      Defendant, as a common carrier, was engaged in the business of providing to the

  public and to the Plaintiff in particular, for compensation, vacation cruises aboard the vessel,

  Grand Celebration.

         9.      At all times material hereto, Defendant owned, operated, managed, maintained

  and/or controlled the vessel, Grand Celebration.

         10.     At all times material hereto, Defendant had exclusive custody and control of the

  vessel and the vessel was in navigable waters.

                                    COUNT I - NEGLIGENCE

         Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs one

  (1) through ten (10) as though alleged originally herein.

         11.     At all times material, Plaintiff was a paying passenger and lawfully aboard the

   vessel Grand Celebration.

         12.     At all times material, Defendant owed the Plaintiff a non-delegable duty to exercise

  reasonable care under the circumstances. The Defendant’s duty encompassed and included the

  duty to maintain and operate the Grand Celebration in a reasonable and safe manner, to keep the

  floor surfaces and stairs free from wet, slippery, hazardous and dangerous conditions which could

  cause injury to its passengers, and to warn of and remedy dangerous conditions which it created,

  knew or should have known about in the exercise of reasonable care.

         13.     Alternatively, at all material times, Defendant CRUISE OPERATOR and/or its

   employees, engaged in certain affirmative undertakings, as hereafter alleged; and in doing so

   acquired a duty to exercise reasonable care in those undertakings.

         14.     On or about March 22, 2017, the Plaintiff was severely injured when she fell while

  descending stairs due to a dangerous and hazardous condition, including but not limited to wet and



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  slippery condition, inadequate lighting, insufficient and/or ineffective anti-slip strips and/or the

  presence of foreign substance on the steps which made them unreasonably slippery and slick.

         15.      These conditions were either knowingly created by Defendant and its employees or

  had been in place for a sufficient period of time so that the Defendant knew or should have known

  about them through the exercise of reasonable care.

         16.      Alternatively, Defendant, and/or its employees at all material times undertook to

  maintain the subject steps in question and/or keep them clean, dry and properly well lit, and as

  previously stated, thereby acquired a duty to exercise reasonable care in those undertakings.

         17.      Additionally, Defendant and/or its employees at all material times should have

  inspected the subject stairs for a hazardous condition under reasonably anticipated circumstances,

  such as the stairs becoming hazardously slippery when becoming wet, thereby providing notice to

  the Defendant of the hazardous condition.

         18.      On or about March 22, 2017, Defendant and/or its agents, servants, and/or

  employees breached its duty to provide Plaintiff with reasonable care under the circumstances.

         19.      On or about March 22, 2017, the Plaintiff was injured, due to the fault and/or

   negligence of Defendant and/or its agents, servants, joint ventures and/or employees as follows:

               a. Failure to provide its passengers, such as the Plaintiff, with reasonable care under
                  the circumstance;

               b. Failure to provide reasonably safe place to walk;

               c. Failure to maintain the area where Plaintiff’s incident occurred in a reasonably safe
                  condition;

               d. Failure to maintain the area where Plaintiff’s incident occurred free from
                  unreasonable slipping hazard(s);

               e. Failure to provide adequate lighting;

               f. Failure to provide a slip resistant stairs/floor;


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          g. Failure to inspect the stairs/floor when taking control of the ship so as to adequately
             identify potential hazards to passengers under reasonably anticipated conditions
             before making those areas available to passengers to use;

          h. Failure to inspect the stairs/floor to determine coefficiency of friction when
             stairs/floor become wet before making the area available to passengers to use;

          i. Failure to routinely inspect the stairs/floors on a reasonably timely basis;

          j. Failure to adequately inspect the area where Plaintiff’s incident occurred for
             slipping/tripping hazards and sufficient lighting;

          k. Failure to identify the dangerous and/or hazardous condition(s) which caused
             Plaintiff to slip and fall;

          l. Failure to warn its passengers, such as the Plaintiff, of the dangerous and/or
             hazardous condition(s) posed to her;

          m. Failure to warn the Plaintiff of the hazard(s) posed to her;

          n. Failure to warn the Plaintiff of the hazard(s) posed to her due to the lack of adequate
             maintenance and/or inspection of the area where he suffered his incident;

          o. Failure to mark and/or highlight the hazardous and/or dangerous condition(s) which
             caused Plaintiff to suffer her incident;

          p. Failure to correct the hazard(s) which caused Plaintiff to suffer her incident;

          q. Failure to eliminate and/or modify the hazard(s) which caused Plaintiff to suffer
             her incident;

          r. Failure to promulgate and/or enforce adequate policies and/or procedures with
             regard to prevent slip/trip and fall incidents from occurring aboard Defendant’s
             cruise ships, including but not limited to: Grand Celebration;

          s. Failure to close off access to the area where Plaintiff suffered her incident until the
             dangerous and/or hazardous condition(s) which caused Plaintiff’s incident was
             corrected, modified, and/or eliminated, and/or;

          t. Failure to properly train and instruct its employees/crewmembers to detect, report
             and remedy dangerous and/or hazardous condition(s);

          u. Failing to comply with industry standards and Defendant’s standards for the
             appropriate slip resistance and/or coefficient of friction for the public flooring/stairs
             aboard vessels and sufficient lighting;


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                v. Selecting, authorizing, approving, and/or tolerating a flooring that was not
                   reasonably slip resistant and/or unreasonable slip resistant when contaminated with
                   a foreign substance;

                w. Failure to ascertain the cause of prior similar accidents happening on any of the
                   Defendant’s vessels fleet wide so as to take adequate measures to prevent their
                   reoccurrence, and more particularly Plaintiff’s incident; and/or all of which caused
                   and/or contributed to the Plaintiff becoming injured when she fell on the subject
                   stairs;

                x. Other acts or omissions constituting a breach of the duty to use reasonable care
                   under the circumstances which are revealed through discovery.

          20.      At all times material, Defendant had exclusive custody and control of the Grand

  Celebration.

          21.      At all times material, Defendant violated the International Safety Management

  Code’s goals and intent and failed to have properly, adequately and safely implement the

  International Safety Management Code and by extension its own SQM Manual.

          22.      At all times material, Defendant failed to have an adequate Safety Management

  System Manual aboard the Grand Celebration, and/or failed to properly implement the Safety

  Management System Manual aboard the Grand Celebration.

          23.      All or some of the above acts and/or omissions by Defendant and/or its agents,

  servants, and/or employees, caused and/or contributed to the Plaintiff slipping and falling on a wet,

  slippery and/or hazardous flooring surface while descending the stairs on Defendant’s vessel.

          24.      Defendant knew of the foregoing conditions causing the Plaintiff’s accident and did

  not correct them, or the conditions existed for a sufficient length of time so that Defendant, in the

  exercise of reasonable care under the circumstances, should have learned of them and corrected

  them.

          25.      As a result of the negligence of Defendant, the Plaintiff was injured about Plaintiff’s



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  body and extremities, including but not limited to, multiple severe head and neck injuries, suffered

  physical pain, mental anguish, loss of enjoyment of life, disability, disfigurement, physical

  handicap, post-traumatic stress disorder and other mental and/or nervous disorders, suffered the

  aggravation of any previously existing conditions and incurred medical expenses in the care and

  treatment of Plaintiff’s injuries, including psychiatric and life care. In addition, the Plaintiff lost

  the benefit of the Plaintiff’s vacation, cruise and transportation costs. Further, the injuries resulting

  from this incident are permanent or continuing in nature and Plaintiff will suffer these losses and

  impairment into the future.

          WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law against the Defendant and demands trial by jury.

                                                          Respectfully submitted,

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